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                             UNITED STATES DISTRICT COURT
                              MIDDLE DISTRICT OF FLORIDA
                                   ORLANDO DIVISION


WILLIAM RYAN,

                       Plaintiff,

v.                                                     Case No: 6:19-cv-852-Orl-78LRH

ALLSTATE FIRE AND CASUALTY
INSURANCE COMPANY,

                       Defendant.
                                         /

                                         ORDER

      THIS CAUSE is before the Court on Plaintiff’s Notice of Dismissal Without

Prejudice (Doc. 34). Pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(i), the Clerk

of Court is directed to terminate all pending motions and close this case.

      DONE AND ORDERED in Orlando, Florida on October 29, 2019.




Copies furnished to:

Counsel of Record
